
LOGUE, J.
Although labeled a final summary judgment, the order under review did not complete the judicial labor in the case below. In Appellant's cause of action to intervene in a pending lawsuit, the order under review granted summary judgment for Appellee on the basis that Appellant lacked standing because the purchase of his unit violated the declaration of condominium. Still pending before the trial court, however, *487is the Appellee's cause of action against the Appellant for a declaratory judgment that the Appellant's deed for purchase of the unit was void due, at least in part, to the same defects. Because these matters are not factually or legally independent from each other, the order under review does not qualify as a partial final judgment. We therefore dismiss this case for lack of jurisdiction. Fla. R. App. P. 9.110(k).
Dismissed.
